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MII)DLE DISTRICT oF FLoRl~n)t_‘gl _~ ,»¢..
TAMPA DlvlsloN v ’~ “'-'~‘.'".{=~j:»j?i ‘/
DENle ABRAMSON, INDIVIDUALLY
AND oN BEHALF oF ALL oTHERs
slMILARLY sITUATED,
Plaimifr,
v. Case No. 8`,\¢+ C/\/ gl\/V'Z.Z m-g
CREATlvE soLuTloNs MARKETING, lNC.,
Defendant.
/
CLASS ACTIoN CoMPLAINT

 

1. DENNlS ABRAMSON (“Plaintiff”) brings this Class Action
Cornplaint for damages, injunctive relief, and any other available legal or equitable
remedies, resulting from the illegal actions of CREATIVE SOLUTIONS
MARKE'I`ING, INC. (“Def`endant”), in negligently and/or willfully contacting
Plaintiff on Plaintiff’s cellular telephone, in violation of the Telephone Consumer
Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading Plaintif`i`s
privacy. Plaintifl` alleges as follows upon personal knowledge as to himself and his
own acts and experiences, and, as to all other matters, upon information and belief,
including investigation conducted by his attorneys.

2. The 'l`CPA was designed to prevent calls like the ones described herein,
and to protect the privacy of citizens like Plaintiff. “Voluminous consumer
complaints about abuses of telephone technology - for example, computerized calls

dispatched to private homes - prompted Congress to pass the TCPA.” Mz'ms v. Arrow
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Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

3. ln enacting the TCPA, Congress intended to give consumers a choice
as to how corporate similar entities may contact them, and made specific findings
that “[t]echnologies that might allow consumers to avoid receiving such calls are not
universally available, are costly, are unlikely to be enforced, or place an inordinate
burden on the consumer TCPA, Pub.L. No. 102-243, § l l. In support of this,

Congress found that:

[b]anning such automated or prerecorded telephone calls
to the horne, except when the receiving party consents to
receiving the call or when such calls are necessary in an
emergency situation affecting the health and safety of the
consumer, is the only effective means of protecting
telephone consumers from this nuisance and privacy
invasion.

Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL

3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s
purpose).

4. Congress also specifically found that “the evidence presented to the
Congress indicates that automated or prerecorded calls are a nuisance and an
invasion ofprivacy, regardless of the type ofcall. ...” ld. at §§ 12-13. See also, Mims,
132 S. Ct. at 744.

5. As Judge Easterbrook of the Seventh Circuit recently explained in a

TCPA case regarding calls to a non-debtor similar to this one:

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The Telephone Consumer Protection Act. . .is well known
for its provisions limiting junk-fax transmissions A less-
litigated part of the Act curtails the use of automated
dialers and prerecorded messages to cell phones, whose
subscribers often are billed by the minute as soon as the
call is answered_and routing a call to voicemail counts
as answering the call. An automated call to a landline
phone can be an annoyance; an automated call to a cell
phone adds expense to annoyance.

Soppet v. Enha)')ced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

JURlSDICTlON AND VENUE

6. This Court has federal question jurisdiction because this case arises out
of violations of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fz'n. Se)'vs., LLC, 132
S. Ct. 740 (2012).

7. Venue is proper in the United States District Court for the Middle
District of Florida pursuant to 18 U.S.C. § l391(b) and l441(a) because Defcndant
is subject to personal jurisdiction within this judicial district as Defendant is a
corporation with its State of incorporation being Florida and maintains its principle
place of business in Clearwater, Florida, within thisjudicial district.

PARTIES

8. Plaintiff is, and at all times mentioned herein was, a citizen and resident
of the State of Pennsylvania. Plaintiff is, and at all times mentioned herein was, a
“person” as defined by 47 U.S.C. § 153 (10).

9. Plaintiff is informed and believes, and thereon alleges, that Defendant
is, and at all times mentioned herein was, a corporation whose State of Incorporation
is Florida and principal place of business is in Clearwater, County of`Pinel|as, State
of Florida. Defendant, is and at all times mentioned herein was, a corporation and

is a “person,” as defined by 47 U.S.C. § 153 (10). Plaintiff alleges that at all times

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relevant herein Defendant conducted business in the State of Florida and in the
County of Pinellas, and within this judicial district.
FACTUAL AL_LE§ATIONS

10. At all times relevant, Plaintiff was a citizen of the State of
Pennsylvania. Plaintiff is, and at all times mentioned herein was, a “person” as
defined by 47 U.S.C. § 153 (10).

11. Defendant is, and at all times mentioned herein was, a corporation and
a “person,” as defined by 47 U.S.C. § 153 (10).

12. At all times relevant Defendant conducted business in the State of
Florida and in the County of Pinellas, within thisjudicial district.

l3. Beginning sometime on or around November oi"2013, Defenclant began
to utilize Plaintiff`s cellular telephone number, ending in 3515, in an attempt to
solicit Plaintiff`s business

14. During this time, Defendant placed at least three (3) solicitation calls to
Plaintiff`s cellular telephone. Defendant placed such calls from the telephone
number (215) 857-5244.

15. The calls Defendant placed to Plaintiff’s cellular telephone were placed
via an “automatic telephone dialing system,” (“ATDS”) as defined by 47 U.S.C. §
227 (a)(l) as prohibited by 47 U.S.C. § 227 (b)(l)(A).

16. The telephone number that Defendant, or its agents, called was assigned
to a cellular telephone service for which Plaintiff incurs a charge for incoming calls
pursuant to 47 U.S.C. § 227 (b)(l).

17. These telephone calls constituted calls that were not for emergency
purposes as defined by 47 U.S.C. § 227 (b)(l)(A)(i).

18. Plaintif`f never provided any personal information, including his

cellular telephone number to Defendant, is not a customer of Defendant, and has
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never previously contacted Defendant in any fashion. Thus, at no time did Plaintiff
provide Defendant or its agents with prior express consent to receive telephone calls
from an ATDS pursuant to 47 U.S.C. § 227 (b)(l)(A).

19. 'I`hese telephone calls by Defendant, or its agents, violated 47 U.S.C. §
227(b)(1).

CLASS ACTION AMGATIONS

20. Plaintiff brings this action on behalf of himself and on behalf of and all
others similarly situated (“the Class”).

21. Plaintiff represents, and is a member of, the Class, consisting of: All
persons within the United States who received any telephone call/s from Defendant
or its agent/s and/or employee/s to said person’s cellular telephone made through the
use of any automatic telephone dialing system within the four years prior to the
filling of the Complaint.

22. Defendant and its employees or agents are excluded from the Class.
Plaintiff does not know the number of members in the Class, but believes the Class
members number in the thousands, if not more. Thus, this matter should be certified
as a Class action to assist in the expeditious litigation of this matter.

23. Plaintiff and members of the Class were harmed by the acts of
Defendant in at least the following ways: Defendant, either directly or through its
agents, illegally contacted Plaintiff and the Class members via their cellular
telephones, thereby causing Plaintiff and the Class members to incur certain cellular
telephone charges or reduce cellular telephone time for which Plaintiff and the Class
members previously paid, and invading the privacy of said Plaintiff and the Class
members. Plaintiff and the Class members were damaged thereby.

24. This suit seeks only damages and injunctive relief for recovery of

economic injury on behalf of the Class, and it expressly is not intended to request
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any recovely for personal injury and claims related thereto. Plaintiff reserves the
right to expand the Class definition to seek recovery on behalf of additional persons
as warranted as facts are learned in further investigation and discovery.

25. The joinder of the Class members is impractical and the disposition of
their claims in the Class action will provide substantial benefits both to the parties
and to the court. The Class can be identified through Defendant’s records or
Defendant’s agents’ records.

26. There is a well~defined community of interest in the questions of law
and fact involved affecting the parties to be represented The questions of law and
fact to the Class predominate over questions which may affect individual Class
members, including the following:

l Whether, within the four years prior to the filing of this Complaint,
Defendant or its agents placed any calls to the Class (other than a call
made for emergency purposes or made with the prior express consent
of the called palty) to a Class member using any automatic dialing

system to any telephone number assigned to a cellular phone service;

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Whether Plaintiff and the Class members were damaged thereby, and
the extent of damages for such violation; and

3 Whether Defendant and its agents should be enjoined from engaging in

such conduct in the future.

27. As a person that received calls from Defendant via an automated
telephone dialing system without Plaintiff’s prior express consent, Plaintiff is
asserting claims that are typical of the Class, Plaintiff will fairly and adequately
represent and protect the interests of the Class in that Plaintiff has no interests

antagonistic to any member of the Class.

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28. Plaintiff and the members of the Class have all suffered irreparable
harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a class
action, the Class will continue to face the potential for irreparable harm. ln addition,
these violations of law will be allowed to proceed without remedy and Defendant
will likely continue such illegal conduct. Because of the size of the individual Class
member’s claims, few, if any, Class members could afford to seek legal redress for
the wrongs complained of herein.

29. Plaintiff has retained counsel experienced in handling class action
claims and claims involving violations of the Telephone Consumer Protection Act.

30. A class action is a superior method for the fair and efficient adjudication
of this controversy. Class-wide damages are essential to induce Defendant to
comply with federal and state law. The interest of Class members in individually
controlling the prosecution of separate claims against Defendant is small because
the maximum statutory damages in an individual action for violation of privacy are
minimal. Management of these claims is likely to present significantly fewer
difficulties than those presented in many class claims.

31. Defendant has acted on grounds generally applicable to the Class,
thereby making appropriate final injunctive relief and corresponding declaratory

relief with respect to the Class as a whole.

FIRST CAUSE OF ACTlON
NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
PROTECT{ON ACT

47 U.S.C. § 227 ET SEQ.

32. Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein,

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33. The foregoing acts and omissions of Defendant constitute numerous
and multiple negligent violations of the TCPA, including but not limited to each and
every one ofthe above-cited provisions of47 U.S.C. § 227 et seq.

34. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
seq, Plaintiff and The Class are entitled to an award of $500.00 in statutory damages,
for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

35. Plaintiff and the Class are also entitled to and seek injunctive relief

prohibiting such conduct in the future.

SECOND CAUSE OF ACTION
KNOWING AND/OR WILLFUL VIOLATIONS OF THE
TELEPHONE CONSUMER PROTECTION ACT

47 U.S.C. § 227 ET SEQ.

36. Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein,

37. The foregoing acts and omissions of Defendant constitute numerous
and multiple knowing and/or willful violations of the TCPA, including but not
limited to each and every one of the above-cited provisions of 47 U.S.C. § 227 et
seq,

38. As a result of Defendant’s knowing and/or willful violations of 47
U.S.C. § 227 et seq, Plaintiff and The Class are entitled to an award of$l,500.00 in
statutory damages, for each and every violation, pursuant to 47 U.S.C. §
227(b)(3)(C).

39. Plaintiff and the Class are also entitled to and seek injunctive relief

prohibiting such conduct in the future.

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PRAYER FOR RELlEF
Wheref`ore, Plaintiff respectfiilly requests the Court grant Plaintiff and The

Class members the following relief against Defendant:

FIRST CAUSE OF ACTION FOR NEGLIGENT VlOLATlONS OF THE
TCPA. 47 U.S.(_I. 8 227 ET SEO.

40. As a result of Defendant’s negligent violations of 47 U.S.C. §
227(b)(l), Plaintiff seeks for himself and each Class member $500.00 in statutory
damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

41 . Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
conduct in the future.

42. Any other relief the Court may deem just and proper.

SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL
VlOL_ATIONS OF THE TCPA. 47 U.S.C. § 227 ET SEQ.

43. As a result of Defendant’s knowing and/or willfi,tl violations of 47
U.S.C. § 227(b)(1), Plaintiff seeks for himself and each Class member $1,500.00 in
statutory damages, for each and every violation, pursuant to 47 U.S.C. §
227(b)(3)(C).

44. Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
conduct in the future.

45. Any other relief the Court may deem just and proper.

TRIAL BY JURY
46. Pursuant to the seventh amendment to the Constitution of the United

States of America, Plaintiffs are entitled to, and demand, a trial by jury.

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RESPECTFUL LY SUBMITTED,

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